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United States District Court

S()UTHERN DISTRICT OF INDIANA

UNITED STATES OF AMERICA

V.

DENNIS WILSON

CRIMINAL COMPLAINT

CASE NUMBER: l:lS-mj-OOl 16

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. On or about November l, 2017, in Marion County, in the Southern District of Indiana

defendants did,

Counts l - 5 Sexualv Exploitation of a Minor and Attempted Sexual EXploitation of a Minor,

Count 6 Child Pornography Trafflcking

in violation of Title 18, United States Code, Sections 2251(a) and 2252. l further state that I arn a Task Force
Officer, and that this complaint is based on the following facts:

Continued on the attached sheet and made a part hereof.

Sworn to before me, and subscribed in my presence

February 2, 2018
Date

Mark J. Dinsmore, U.S. Magistrate Judge

 

Name and Title of Judicial Officer

See attached Affldavit.

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Darin O'dier, Task Force Off`lcer

at lndianapolis, l`ndiana

 

 

 

Signature 17Jildiciqi lcer

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AFFIDAVIT

I, Darin Odier, hereby depose and state as follows:

1. Affiant: I am a Detective in the Cybercrime Unit of the
Indianapolis Metropolitan Police Department. I am also a cross designated
Federal Task Force officer assigned to the FBl the Indianapolis Violent Crimes
Against Children Task Force.

2. Experience: I have over 28 years of law enforcement experience I
have investigated State and Federal criminal violations related to high
technology or cybercrime, child exploitation, and child pornography I have
Written numerous search warrants involving internet crimes against children
cases and participated in their execution.

3. Training: I have attended and presented at the National Crimes
Against Children Conference multiple times and attended numerous classes
related to investigating the online sexual exploitation of children. I am also a
member of the Indiana Internet Crimes Against Children T ask Force, which
includes numerous federal, state and local law enforcement agencies I am
currently assigned to operate in an undercover capacity on the Internet to
identify and investigate persons attempting to exploit or solicit sexual acts With
children or trafficking in child pornography As a Task Force Officer, I am
authorized to investigate violations of the laws of the United States and to
t execute warrants issued under the authority of the United States.

4. Information provided: The statements in this affidavit are based

on information obtained from my observations and communications, as well as

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information learned from other law enforcement officers and Witnesses.
Because this affidavit is being submitted for the limited purpose of securing a
criminal complaint and arrest Warrant, the affiant has not included each and
every fact known to me concerning this investigation I have set forth only the
facts that I believe are necessary to establish probable cause for the listed
offenses.

5. Probable Cause: For the reasons listed below, there is probable
cause to believe that on, about or between July 2014-November 2017 Dennis
Wilson (Wilson), DGB 03-29-19xx (Known to affiant, but redacted) has
committed the following offenses in the Southern District of Indiana:

6. Counts 1-5: Sexual Exploitation of a Minor and Attempted
Sexual Exploitation of a Child (18 U.S.C. § 2251(a)): This statute provides
that “Any person who employs, uses, persuades, induces, entices, or coerces
any minor to engage in, or who has a minor assist any other person to engage
in, or who transports any minor in or affecting interstate or foreign commerce,
or in any Territory or Possession of the United States, with the intent that such
minor engage in, any sexually explicit conduct for the purpose of producing
any visual depiction of such conduct or for the purpose of transmitting a live
visual depiction of such conduct, shall be punished as provided under
subsection (e), if such person knows or has reason to know that such visual
depiction will be transported or transmitted using any means or facility of
interstate or foreign commerce or in or affecting interstate or foreign commerce

or mailed, if that visual depiction was produced or transmitted using materials

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that have been mailed, shipped, or transported in or affecting interstate or
foreign commerce by any means, including by computer, or if such visual
depiction has actually been transported or transmitted using any means or
facility of interstate or foreign commerce or in or affecting interstate or foreign
commerce or mailed, It is also a crime to attempt to sexually exploit a child. 18
U.S.C. § 2251(e).

7. Child Pornography Trafficking (18 U.S.C. § 2252): This
investigation also concerns alleged violations of 18 U.S.C. § 2252, which
prohibits a person from knowingly transporting, shipping, receiving,
distributing, reproducing for distribution, or possessing any visual depiction of
minors engaging in sexually explicit conduct when such visual depiction was
either mailed or shipped or transported in interstate or foreign commerce by
any means, including by computer, or when such visual depiction Was
produced using materials that had traveled in interstate or foreign commerce.

8. Definitions: T he following definitions apply to this Affidavit:

9. “Child Pornography” means any visual depiction of sexually explicit
conduct where (a) the production of the visual depiction involved the use of a
minor engaged in sexually explicit conduct, (b) the visual depiction is a digital
image, computer image, or computer-generated image that is, or is
indistinguishable from, that of a minor engaged in sexually explicit conduct, or
(c) the visual depiction has been created, adapted, or modified to appear that
an identifiable minor is engaged in sexually explicit conduct, See 18 U.S.C. §

2256.

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10. “Minor” means any person under the age of eighteen years. See 18
U.S.C. § 2256(1).

11. “Sexually explicit conduct” means actual or simulated (a) sexual
intercourse, including genital-genital, oral-genital, or oral-anal, whether
between persons of the same or opposite sex; (b) bestiality; (c) masturbation; (d)
sadistic or masochistic abuse; or (e) lascivious exhibition of the genitals or
pubic area of any person. See 18 U.S.C. § 2256(2).

12. “Visual depictions” include undeveloped film and videotape, and
data stored on computer disk or by electronic means, which is capable of
conversion into a visual image, See 18 U.S.C. § 2256(5).

13. On November, 14, 2017 at 2235 hours, an IMPD uniformed officer
received a dispatched run to a residence in the 2900 block of N. Lasalle St. 2
Indianapolis, IN (Specific address known to this affiant, but redacted) on a
voyeurism investigation. When the officer arrived, he encountered Witness l,
(Identity known to this affiant, but redacted) who was standing in front of the
residence. Witness 1 stated that she had made a prior police report on a black
male looking into her child's windows and now had a suspect. Witness 1
handed the officer a Samsung Tablet (serial # RF2DA243YTA). Witness 1 said
that she had a party inside her residence and found the tablet inside her
residence after the party. She further stated that the owner of the tablet, who
Was the DJ at the party, lives at 2959 N. Lasalle St. and his first name is
Dennis. The address 2959 N. Lasalle St is in the immediate proximity of

Witness 1’s residence. Witness 1 stated she observed several videos of young

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children between the ages of 5 and 15 on the tablet, She described one video
that showed a child, approximately 5 years of age, nude and sitting on a toilet.
Witness 1 believed the videos Were taken from windows looking inside. Witness
1 did not know the children. Witness l believed that suspect had been around
her residence several times. The tablet was transported to IMPD property room
as evidence.

14. Prior police reports for 2959 N. Lasalle St Indianapolis, Indiana
46218 show that Dennis Wilson, DOB 03 / 29 / 19** (known to this affiant, but
redacted) resides at that address.

15. On November 11, 2017, this affiant applied for and was granted a
search warrant out of Marion County Superior Court to search the Samsung
tablet,

16. The Samsung tablet was forensically examined and it yielded the
following results:

l) T he examination found multiple videos of females in a bathroom.

2) This affiant believes that several (6 or 7) of the females are under
the age of 18.

3) In some of these videos, the vaginal area of the females is visible.

4) The videos appear to be covertly recorded by someone holding a
recording device behind a wall or other area of concealment,
unbeknownst to the females being recorded.

5) These videos were located on the device itself, as well as a

removable SD card within the device.

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6) Attribution evidence on the device connects it to Dennis Wilson,
including family pictures and videos, and a birthday party for
Dennis Wilson, as well as video of Wilson performing as a DJ. This
affiant recognized a person in some images on the device to be the
same Dennis Wilson associated with 2959 N. Lasalle St.
Indianapolis, Indiana.

7) In video 20140329_191647, Dennis Wilson is visible sitting in front
of a birthday cake as others sing Happy Birthday to him. This
affiant knows Wilson’s birthday is on March 29. This is consistent
with the naming convention of the video.

8) In Video 20140413_105721, a female who this affiant believes to be
a minor, is standing in a bathroom wearing a bra. Her genital or
pubic area is visible. At the 1:54 minute mark of the video, a male
voice in close proximity to the recording device is heard saying
“Mama.” The device appears to be set down and the male’s voice
can be heard in the background This affiant is familiar with
Dennis Wilson’s voice and believes it to be his voice on the video.

9) In Video 20140901_133948, a minor female later identified by this
affiant (Minor Victim 2) is seen undressing and washing in the
bathroom While talking to another child Who is in the shower. The
vaginal area of Minor Victim l is exposed. The camera follows her

as she moves around the bathroom.

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lO)In Video 20150612_1 10928, a minor female later identified by this
affiant (Minor Victim 3) is seen in a bathroom, naked, with her
vaginal area exposed. Another unidentified minor (Minor Victim 4)
gets out of the shower and Minor Victim 3 steps into the shower.
T he camera follows Minor Victim 4 around the bathroom. Her
vaginal area is exposed.

ll)Based on the naming convention of all the Videos that depict
minors with their genitalia exposed, it is likely that the videos Were d
produced in 2014 and 2015.

12)There are multiple additional videos showing still unidentified
females that this affiant believes are minors, in the bathroom with
their vaginal areas exposed.

' 13)The forensic examiner believes the videos were likely not recorded
or produced using the Samsung tablet, but likely downloaded or
synched from another device.

14)The forensic examiner also found multiple internet search terms on
the Samsung tablet that were indicative of someone sexually
attracted to children such as “Childporn,” “Dad fucks sleeping
daughter” and “Very Very Young Black A Porn Videos.,”.
15)The forensic examination showed the email address
Denniswilson162@gmail.com linked to the device.
17. On November 30, 2017, this affiant executed a search warrant at

the residence of Dennis Wilson, 2959 N Lasalle St, Indianapolis, Indiana. The

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search warrant was issued out of Marion County Superior Court on November
27, 2017,

18. Upon entering the residence, this affiant observed Dennis Wilson
holding a cell phone. In a non-custodial recorded interview, this affiant read
Wilson his Miranda rights, which Wilson acknowledged understanding

19. Wilson provided the passcode for the cell phone, a black ZTE. Per
the search warrant, the cell phone, a ZTE model Z981 was seized and
forensically examined.

20. The ZTE cell phone examination yielded the following results:

l) A large amount of attribution evidence on the cell phone connected
the device to Dennis Wilson.

2) The email accounts Denniswilson1049@gmail.com and
wilsondennis932@gmail.com were linked to the cell phone.

3) The forensic examination revealed multiple voyeur-type images and
videos on the cell phone. The images and videos appear to have
been recorded outside of a residence while looking between window
blinds into a bathroom. These images and videos show unidentified
females in a bathroom in various stages of undress, including full
nudity.

4) The images were recovered in the Google photos cache and trash,
and they are no longer physically on the device. EXIF data shows

that at least one of these images appeared to have been taken with

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a ZTE Z981 cell phone on November 7, 2017 around 06:30 eastern
time.

21. This affiant knows that on November 7, 2017, around 0700
Eastern Time, Witness 1 contacted IMPD and made a police report regarding
someone looking in her minor children’s bedroom. A witness described the
person as a black male wearing a sweatshirt.

22. Also recovered on the cell phone were Web page visits. Between
September 1, 2017 and November 30, 2017 , there were over 16,000 webpage
visits, and the vast majority of these were related to pornography. Over 2100 of
the Webpage visits contained the words “young”, “tiny”, or “little.”

23. On December 5, 2017, this affiant met with Witnesses l and 2. l
showed Witness 1 still images and screen shots made from the videos
forensically recovered from Wilson’s ZTE cell phone. Witness l identified her
bathroom, a blanket, a cat and a rug. This affiant photographed all these areas
and items. Witness 1 also identified her minor child (Minor Victim 1) in the
images. In at least l of these images, the vaginal or pubic area of Minor Victim
1 is visible. Minor Victim 1 is 12 years old.

24. The EXIF` data on these images shows they were produced in
October 2017 and November, 2017. Witness 2 told this affiant that several
weeks ago, Witness 2 was walking down the alley behind his house late at
night. Witness 2 saw a person on the south side of his residence where the
minor children’s bedroom window is located. As he approached, Witness 2

recognized the male as Dennis Wilson, and he saw Wilson carrying a plastic

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bucket. Witness 2 further stated that there is a similar plastic bucket sitting
under his bathroom window with a footprint on it. This affiant located the
plastic bucket under the bathroom and clearly saw an outline of a shoe on the
lid of the bucket. This affiant photographed and recovered the bucket.

25. This affiant reviewed the videos and images from the cell phone
and compared them to the window and bathroom at the residence of Minor
Victim 1. This affiant believes the bathroom and surroundings in the images
and videos to be Minor Victim 1’s residence.

26. Witness 1 and Minor Victim l live in the immediate vicinity of the
residence of Dennis Wilson, 2959 N Lasalle St, Indianapolis Indiana.

27. On December 6, 2017 this affiant met with Florine Wilson, the
mother of Dennis Wilson, to attempt to identify the children in the videos
recovered on the Samsung tablet. This affiant played Mrs. Wilson the video
described above (...105721) and asked her if she recognized the male voice. She
stated, “That sounds like my son’s Voice”. When I asked her which son, she
replied, “Dennis.”

28. The ZTE cell phone and the Samsung tablet, Which were used to
produce, download, and store the images of child pornography, were all
manufactured outside of the state of Indiana and travelled via interstate or
foreign commerce,

29. On January 28, 2018, this affiant interviewed Witness 3 and

showed her screen shots of minors from videos recovered on Wilson’s tablet.

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Witness 3 identified two of the minors as relatives of hers (Minor Victims 2 8a
3).

30, Based on the naming convention of the videos, Minor Victims 2
and 3 were 11 years old and 15 years old when the videos were recorded.

31. Witness 3 also identified another minor who is related to Witness 3
in an image recovered on Wilson’s Samsung tablet. In the image, the minor is
sitting on a couch. Witness 3 stated that she recognized the couch from the
former residence of Dennis Wilson. Witness 3 knew Wilson from a church they
used to attend and Witness 3 has been in Wilson’s former residence on
multiple occasions. Witness 3 stated that her minor relatives stayed overnight
at Wilson’s residence on multiple occasions and that Wilson was the only male
residing there.

32. Witness 3 stated that Wilson’s former residence was in the area of
E. 46th St. and N. Keystone Avenue in Indianapolis, Indiana and she would
provide me with the exact address. Later on January 28, 2018, Witness 3
contacted me and said that the exact address of Wilson’s former residence is
1618 E 46th St, Indianapolis, IN.

33. Witness 3 described the bathroom in Wilson’s former residence.
She stated that it could be accessed by two doors and the doors were opposite
from each other. This is consistent with the bathroom in the videos referenced
above.

34. On January 30, 2018, I again met with Witness 3. I showed her 10

videos recovered from Wilson’s tablet. She identified Minor Victim 2 in four

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videos, Minor Victim 3 in one video, and Minor Victim 4 in two videos, All are
relatives of Witness 3.

35. The dates on the videos indicate that they were produced between
March of 2014 and June of 2015. Based on these dates, Minor Victims 2, 3 and
4 were all less than 18 years of age, between l 1 and 14 years old, when the
videos were produced.

36. This affiant also met with Minor Victims 2, 3 and 4. Each of these
Minor Victims identified a photo of 1618 E. 46th St as the prior residence of
Dennis Wilson. Each stated that they were at the residence overnight on

‘ multiple occasions over several years.

1) They identified themselves from screenshots of their faces in
Wilson’s bathroom from the videos recovered on Wilson’s tablet.

2) They also looked at screenshots of Minor Victim 5. They identified
her by her first name and confirmed her former residence from a
photo.

3) T hese Minor Victims believe Minor victim 5 is currently 15 years
old,

37 . Minor Victims from Samsung Tablet and Micro SD Card:

1) Minor Victim 2 is a person who at all relevant times to this
investigation was less than 18 years of age. She is shown in

various stages of nudity in a bathroom in Wilson’s former

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residence on 46th Street. The following videos show her uncovered

genital / pubic area:

1) 20140730_121307.111;>4,
2) 20140901_133948.mp4,
3) 20140901_134333.mp4, and
4) 20150612_110928.mp4

2) Minor Victim 3 is a person who at all relevant times to this
investigation was less than 18 years of age. She is shown in
various stages of nudity in a bathroom in Wilson’s former
residence on 46th Street. The following video shows her uncovered
genital / pubic area:

l) 20150612_110928.mp4.

3) Minor Victim 4 is a person who at all relevant times to this
investigation was less than 18 years of age. She is shown in
various stages of nudity in a bathroom in Wilson’s former
residence on 46*11 Street. The following videos show her uncovered
genital /pubic area:

a. 20150214_123119.mp4 and
b. 20150612_110928.mp4
4) Minor Victim 5 is a person who at all relevant times to this

investigation was less than 18 years of age. She is shown in

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various stages of nudity in a bathroom in Wilson’s former
residence on 46ter Street. The following videos show her uncovered

genital / pubic area:

a. 2014083 1_004233.mp4,

b. 2014073 1_154255.mp4,

c. 20140730__122 lSS.DELETED.rnp4 and

d. 20140712__1 10448.DELETED.mp4.
CONCLUSION

38. Based on my training and experience, and the facts as set forth in
this affidavit, there is probable cause to believe that Dennis Wilson has

committed the above listed offenses.

I/W%/é

Darin Odier
Task Force Officer
Federal Bureau of Investigation

Subscribed and sworn before me this 2nd day of February, 2018,

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Mark J.f)in e v
Unite State agistrate Judge
South rn Di trict of Indiana

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